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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 United States of America,                            Case No. 22-cr-234 (KMM/TNL)

                      Plaintiff,

 v.                                                                ORDER

 Justice Anthony Valentino,

                      Defendant.


       This matter comes before the Court on Defendant Justice Anthony Valentino’s

Motion to Continue Motions Hearing, ECF No. 27. Defendant has also filed a Statement

of Facts in Support of Exclusion of Time Under Speedy Trial Act, ECF No. 28. Defendant

requests that the motions hearing scheduled for December 6, 2022, be continued “for an

additional 30-45 days” as he “was recently presented with a proposed plea and sentencing

stipulations that he needs further time to consider with his attorney.” ECF No. 27 at 1.

Defendant is also “working through several Minnesota state court cases that may have a

critical impact on his decision whether to consider a plea or further litigate his case.” ECF

No. 27 at 1. The Government joins in Defendant’s request to continue the hearing. ECF

27 at 1.

       Pursuant to 18 U.S.C. § 3161(h), this Court finds that the ends of justice served by

granting a continuance outweigh the best interests of the public and Defendant in a speedy

trial and such continuance is necessary to provide Defendant and his counsel reasonable

time necessary for effective preparation and to make efficient use of the parties’ resources.


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      Based on all the files, records, and proceedings herein, IT IS HEREBY

ORDERED that:

      1.     Defendant’s Motion to Continue Motions Hearing, ECF No. 27, is

GRANTED.

      2.     The period of time from December 2, 2022, through January 20, 2023,

shall be excluded from Speedy Trial Act computations in this case.

      3.     The motions hearing scheduled for December 6, 2022, ECF No. 25, is

CONTINUED to January 20, 2023, at 1:00 p.m., before the undersigned in Courtroom

9W, Diana E. Murphy U.S. Courthouse, 300 South Fourth Street, Minneapolis, Minnesota.

      4.     Any Notice of Intent to Call Witnesses shall be filed by January 12, 2023.

      5.     Any Responsive Notice of Intent to Call Witnesses shall be filed by January

18, 2023.

      6.     The trial date, and other related dates, will be rescheduled following the

ruling on pretrial motions. Counsel must contact the Courtroom Deputy for Judge

Katherine M. Menendez to confirm the new trial date.




Dated: December      2     , 2022                     s/ Tony N. Leung
                                               TONY N. LEUNG
                                               United States Magistrate Judge
                                               District of Minnesota


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